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8
                                   UNITED STATES DISTRICT COURT
9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                            OAKLAND DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. 4:07-cv-05944-JST
12   ANTITRUST LITIGATION                            Case No. 4:17-cv-04067-JST
13                                                   MDL No. 1917
14
     This Document Relates to:                       INDIRECT PURCHASER PLAINTIFFS’
15                                                   NOTICE OF MOTION AND MOTION FOR
     Luscher, et al. v. Mitsubishi Electric Corp.,   FINAL APPROVAL OF CLASS ACTION
16                                                   SETTLEMENT WITH DEFENDANT
     No. 4:17-cv-04067-JST
                                                     MITSUBISHI ELECTRIC CORPORATION;
17                                                   MEMORANDUM OF POINTS AND
                                                     AUTHORITIES IN SUPPORT THEREOF
18
                                                     Hearing Date: June 1, 2023
19                                                   Time: 2:00 p.m.
20                                                   Courtroom: 5, 2nd Floor (via Zoom)
                                                     Judge: Honorable Jon S. Tigar
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        INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1                                  NOTICE OF MOTION AND MOTION

2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
3           PLEASE TAKE NOTICE that, on June 1, 2022 at 2:00 p.m., before the Honorable Jon S.
4    Tigar, United States District Court for the Northern District of California, 1301 Clay Street, Oakland,
5    California, Courtroom 6, 2nd Floor, San Francisco, California, via Zoom, the Indirect Purchaser
6    Plaintiffs (“IPPs”) will move the Court, pursuant to Fed. R. Civ. 23 (e), for entry of an Order:
7       1. Granting final class certification of the Settlement Class;
8       2. Granting final approval of the proposed class action settlement (“Settlement”) with Defendant
9           Mitsubishi Electric Corporation (“Mitsubishi Electric”);
10      3. Granting final approval of IPPs’ plan of distribution for the Mitsubishi Electric Settlement
11          (“Plan of Distribution”) among the eligible certified settlement class members (“Class
12          Members”); and
13      4. Dismissing with prejudice IPPs’ claims against Mitsubishi Electric from the IPP MDL
14          actions (“Actions”) and entering a Final Judgment, with findings under Fed. R. Civ. P. 54(b)
15          as to Mitsubishi Electric.
16          The Court should grant this motion because (a) the Settlement is fair, reasonable, and adequate
17   and satisfies Rule 23(e); (b) the Settlement is the product of arm’s-length negotiations; (c) the Court-
18   approved notice program satisfies Due Process and Rule 23; and (d) the Plan of Distribution is fair,
19   reasonable, and adequate.
20          This motion is based on this Notice of Motion and Motion; the supporting Memorandum of
21   Points and Authorities; the accompanying Declarations of Mario N. Alioto and Joseph Fisher in
22   support of the Motion; the Court’s October 31, 2022 Order Granting Preliminary Approval of Class
23   Action Settlement with Defendant Mitsubishi Electric Corporation, ECF No. 6104; the [Proposed]
24   Orders submitted herewith; any further papers filed in support of this Motion; the argument of counsel;
25   and all pleadings and records on file in this matter.
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        INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1           Pursuant to the Court’s Order Granting Preliminary Approval of Class Action Settlement

2    With Defendant Mitsubishi Electric Corporation, ECF No. 6104 ¶12(a), the Fairness Hearing will be

3    conducted via Zoom, with the link available at https://cand.uscourts.gov/judges/tigar-jon-s-jst/.

4
     Dated: May 11, 2023                          Respectfully submitted,
5
                                                   /s/ Mario N. Alioto
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                                                  Plaintiffs
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1                               STATEMENT OF ISSUE TO BE DECIDED

2           Whether this Court should certify the Proposed Settlement Class and grant final approval of

3    the unopposed Settlement with Mitsubishi Electric and the Plan of Distribution given that it is fair,

4    reasonable, and adequate, satisfies all applicable requirements and, after proper notice to the proposed

5    settlement class (“Settlement Class”) in accordance with Due Process and Rule 23, no Class Member

6    has objected.

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1                          MEMORANDUM OF POINTS AND AUTHORITIES

2    I.      INTRODUCTION

3            Pursuant to Rule 23(e) and the Court’s Order granting preliminary settlement class
4    certification, preliminary approval of the Settlement, and approval of the notice program to potential
5    Class Members (the “Notice Program”), IPPs submit this memorandum in support of final approval
6    of the Settlement with Mitsubishi Electric Corporation (“Mitsubishi Electric”). This memorandum
7    also further supports IPPs’ unopposed Second Motion for an Award of Attorneys’ Fees,
8    Reimbursement of Expenses, and Incentive Awards for Class Representatives, ECF No. 6177.
9            The Settlement is “fair, reasonable, and adequate,” In re Online DVD-Rental Antitrust Litig.,
10   779 F.3d 934, 945 (9th Cir. 2015), and represents an excellent recovery for the Settlement Class given
11   the amount of Mitsubishi Electric’s CRT commerce involved as compared to the overall commerce at
12   issue in the Action, and the substantial risks and delay IPPs would have faced if this case had
13   proceeded to trial. The Settlement provides for a settlement fund of $33,000,000 (“Settlement Fund”).
14   Together with the nine previously-approved settlements (the “Prior Settlements”), the total settlement
15   amount recovered for indirect purchasers of Cathode Ray Tubes (“CRTs”) totals Five Hundred Eighty
16   Million Seven Hundred Fifty Thousand ($580,750,000)—one of the largest recoveries ever on behalf
17   of indirect purchasers. Consistent with the Prior Settlements, there are no coupons or vouchers and
18   there will be no reversion or refund to Mitsubishi Electric. No cy pres distribution is contemplated.
19           The Settlement also includes a substantial cooperation requirement that will assist IPPs in the
20   prosecution of their claims against the Irico Defendants. The Settlement provides considerable relief
21   for the Settlement Class, whose members would otherwise face uncertainty and additional delay in
22   this Action. Despite the strength of IPPs’ claims, the class continues to face litigation risk in the form
23   of summary judgment motions, trial, and potential appeals.
24           In addition to the excellent recovery this Settlement represents, the reaction of the Settlement
25   Class has been overwhelmingly and uniformly positive. Despite the large size of the Settlement Class
26   and a comprehensive, Court-approved Notice Program that included direct notice to all Prior
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          INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1    Claimants 1—many of which are sophisticated multinational corporations represented by counsel—not

2    a single Class Member has objected to the Settlement. Likewise, no one has objected to IPPs’ requested

3    attorneys’ fee award, reimbursement of expenses, or the requested service awards for the Class

4    Representatives. 2 In addition, only one individual class member opted out of the Settlement Class.3

5    The lack of objections and opt outs is a strong indication that the Settlement and the requested attorney

6    fee are fair, reasonable, adequate, and warrant final approval.

7    II.       FACTUAL AND PROCEDURAL HISTORY

8              A.     Factual History
9              For a complete factual history regarding this Action, IPPs refer to the Court to the Declaration
10   of Mario N. Alioto in Support of IPPs’ Second Motion for Attorneys’ Fees, Expenses, and Service
11   Awards (ECF No. 6177-1) ¶¶ 2-56 (detailing IPPs’ efforts in this Action), 4 submitted in connection
12   with these final approval proceedings. This Action arises from alleged conspiracies by Defendants to
13   fix, raise, maintain, and/or stabilize the price of CRTs sold in the United States. All parties have
14   heavily litigated this Action, as evidenced by the more than 6,000 docket entries. The Settlement is
15   therefore the result of a fair evaluation of the merits of the Action after over fifteen years of extensive
16   litigation and discovery, as well as extensive arm’s-length negotiations between IPP Counsel and
17   Mitsubishi Electric’s counsel. See Alioto Fee Decl. ¶¶ 18-24.
18             On October 31, 2022, this Court entered an Order preliminarily certifying the Settlement Class,
19   preliminarily approving the Settlement and the Notice Program, and setting a deadline by which class
20   members could opt-out or object. ECF No. 6104 (“Preliminary Approval Order”). Notice was
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23       “Prior Claimants” includes all class members who submitted valid claims in the Prior Settlements.
     2
24    In accordance with the Preliminary Approval Order, ¶ 22, ECF No. 6104, IPPs’ Second Motion for
     Attorneys’ Fees, Reimbursement of Expenses, and Service Awards, ECF No. 6177, was posted on the
25   website, www.CRTClaims.com, on March 10, 2023, the same day it was filed. See Decl. of Joseph M.
     Fisher Re: Mitsubishi Electric Notice Program and Claims Administration ¶ 7 (“Fisher Decl.”).
26   3
         See Fisher Decl. ¶ 25, Ex. T.
27   4
       That Alioto Declaration is referred to herein as the “Alioto Fee Decl.” IPPs submit herewith the
     separate Decl. of Mario N. Alioto ISO Motion For Final Approval of this Settlement (“Alioto Decl.”).
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           INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1    thereafter published in accordance with the Preliminary Approval Order. Publication consisted of the

2    following actions:

3                •   Publication on the CRT settlement website, www.CRTClaims.com, which has received
4                    more than 1,228,574 unique visitors since February 8, 2023.

5                •   Digital notice via paid advertisements on Google, Facebook, and other popular
6                    websites;

7                •   Print publication notice in magazines and newspapers with collective readership of
8                    more than 43 million;

9                •   English and Spanish press releases carried by 457 domestic and foreign websites with
10                   a total potential audience of approximately 203,600,000;

11               •   Television ads on various popular cable TV networks; and
12               •   Direct mailed/emailed notice to almost thirteen million unique addresses, including all
13                   Prior Claimants, many of which are large, corporate end-users of CRTs in the 31 States;

14   Collectively, these efforts reached an estimated 87% of class members with an estimated frequency of

15   3.02, which is well-within the acceptable range. See generally Fisher Decl. ¶¶ 4-24. Despite the

16   breadth of the Notice Program, only one Class Member has opted out of the Settlement Class (id. at

17   Ex. T), and even more significantly, no Class Member has objected.

18          B.       The Settlement Agreement

19          The terms of the Settlement are described in detail in IPPs’ preliminary approval motion (ECF
20   No. 6053) and the Court’s Preliminary Approval Order (ECF No. 6104), incorporated herein by
21   reference. To summarize, in exchange for $33,000,000 from Mitsubishi Electric, and substantial
22   cooperation in the further prosecution of the Action against the non-settling Defendants, the Settlement
23   Class releases claims under the laws of 30 States and the District of Columbia for alleged price-fixing
24   of CRTs sold indirectly to IPPs. ECF No. 6053-1 ¶¶ 20-28, Ex. A. The Court found that it “would
25   likely be able to approve the proposed Settlement Agreement under Fed. R. Civ. P. 23(e)(2)” and it
26   would “likely be able to certify the Settlement Class[.]” ECF No. 6104. Thus, it directed IPPs to
27   implement the Notice Program.
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        INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1    III.      ARGUMENT

2              A.     The Class Action Settlement Approval Procedure
3              “The claims, issues, or defenses of a certified class may be settled . . . only with the court’s
4    approval.” Fed. R. Civ. P. 23(e). The settlement approval procedure includes three steps: (1)
5    conditional certification of a settlement class and preliminary approval of the proposed settlement; (2)
6    dissemination of notice to affected class members; and (3) a formal fairness or final approval hearing,
7    at which class members may be heard regarding the settlement, and at which counsel may present
8    argument concerning the fairness, adequacy, and reasonableness of the settlements. See Manual for
9    Complex Litigation, 4th ed. § 23.63 (2004); 4 Newberg on Class Actions § 13:1 et seq. (5th ed. 2015)
10   (“Newberg”) (describing class action settlement procedure). This procedure safeguards class
11   members’ Due Process rights and enables the Court to fulfill its role as the guardian of class interests.
12   See id. §§ 13:39–40.
13             The Court completed the first step in the settlement approval procedure when it granted
14   preliminary approval to the Proposed Settlement. As discussed below, the second step in the process
15   has been completed as well: The Court-approved Notice Program was fully implemented. IPPs now
16   request that the Court take the final steps of holding a formal Fairness Hearing, granting final approval
17   of the Proposed Settlement, and entering Final Judgment.
18             B.     Legal Standard For Final Approval Of Class Action Settlements
19             Fed. R. Civ. P. 23(e) “requires the district court to determine whether a proposed settlement is
20   fundamentally fair, adequate, and reasonable.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
21   Cir. 1998). To assess a settlement proposal, the Ninth Circuit uses a multi-factor balancing test:
22                    (1) the strength of the plaintiff’s case; (2) the risk, expense, complexity, and
23                    likely duration of further litigation; (3) the risk of maintaining class action status
                      throughout the trial; (4) the amount offered in settlement; (5) the extent of
24                    discovery completed and the stage of the proceedings; (6) the experience and
                      view of counsel; (7) the presence of a governmental participant; and (8) the
25                    reaction of the class members of the proposed settlement.
26
     In re Online DVD, 779 F.3d at 944 (quoting Churchill Vill., L.L.C. v. GE, 361 F.3d 566, 575 (9th Cir.
27
     2004)).
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                                                     4
        INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1           “‘Recent amendments to Rule 23 require the district court to consider a similar list of factors

2    before approving a settlement.’” ECF No. 5786 (“2020 Final Approval Order”) at 13-14 (quoting

3    Theodore Broomfield v. Craft Brew All., Inc., No. 17-cv-01027-BLF, 2020 U.S. Dist. LEXIS 74801,

4    at *16-17 (N.D. Cal. Feb. 5, 2020) “These factors include whether: (1) ‘the class representatives and

5    class counsel have adequately represented the class;’ (2) ‘the proposal was negotiated at arm’s length;’

6    (3) ‘the relief provided for the class is adequate;’ and (4) ‘the proposal treats class members equitably

7    relative to each other.’” Id. at 14 (quoting Fed. R. Civ. P. 23(e)(2)). The “specific factors added to

8    Rule 23(e)(2) are not intended to ‘displace’ any factors currently used by the courts, but instead aim

9    to focus the court and attorneys on ‘the core concerns of procedure and substance that should guide

10   the decision whether to approve the proposal.’” Id. (quoting Advisory Committee Notes to 2018

11   Amendments, Fed. R. Civ. P. 23(e)(2)). Thus, in analyzing final approval of the Prior Settlements in

12   its 2020 Final Approval Order, this Court applied the framework set forth in Rule 23 with guidance

13   from the Ninth Circuit’s precedent. Id.

14          Settlements occurring before formal class certification “require a higher standard of fairness.”

15   In re Mego Fin. Corp. Sec. Litig., 213 F. 3d 454, 458 (9th Cir. 2000). In reviewing such settlements,

16   the court must ensure that “the settlement is not the product of collusion among the negotiating

17   parties.” In re Bluetooth Headset Prods. Liab. Litig., 654 F. 3d 935, 946-47 (9th Cir. 2011).

18          Finally, this District’s Procedural Guidance for Class Action Settlements (“Procedural

19   Guidance”) provides that “[t]he motion for final approval briefing should include information about

20   the number of undeliverable class notices and claim packets, the number of class members who

21   submitted valid claims, the number of class members who opted out, and the number of class members

22   who objected to or commented on the settlement. In addition, the motion for final approval should

23   respond to any objections.” 5

24

25   5
       Procedural Guidance for Class Action Settlements | United States District Court, Northern District
26   of California (uscourts.gov). The Procedural Guidance also includes requirements for class counsel’s
     attorneys’ fee motion and requests for service awards for class representatives. Id. In compliance with
27   the Procedural Guidance, IPPs separately filed their motion for attorneys’ fees, which included a
     request for service awards, thirty-five (35) days before the objection deadline. See ECF No. 6177.
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                                                      5
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1            C.      The Notice Program Comports With Due Process

2            A court must “direct notice [of a proposed class settlement] in a reasonable manner to all class

3    members who would be bound by the proposal.” Fed. R. Civ. P. 23(e)(1). “The class must be notified

4    of a proposed settlement in a manner that does not systematically leave any group without notice.”

5    Officers for Just. v. Civil Serv. Com., 688 F.2d 615, 624 (9th Cir. 1982) (citation omitted). “Notice is

6    satisfactory if it ‘generally describes the terms of the settlement in sufficient detail to alert those with

7    adverse viewpoints to investigate and to come forward and be heard.’” Espinosa v. Ahearn (In re

8    Hyundai & Kia Fuel Econ. Litig.), 926 F.3d 539, 567 (9th Cir. 2019) (en banc) (quoting Churchill

9    Vill., L.L.C. v. GE, 361 F.3d at 575). This standard does not require perfection, but rather reasonable

10   efforts to reach as many class members as possible through either individual or publication means.

11   See, e.g., Federal Judicial Center, Judges’ Class Action Notice and Claims Process Checklist and Plain

12   Language Guide (2010) (“FJC Checklist”), at 3 (“It is reasonable to reach between 70-95%”); Silber

13   v. Mabon, 18 F.3d 1449, 1454 (9th Cir. 1994). Publication notice is an acceptable method of providing

14   notice where the identity of specific class members is not reasonably available. See In re Tableware

15   Antitrust Litig., 484 F. Supp. 2d 1078, 1080 (N.D. Cal. 2007).

16          The Court has held that the content of the Detailed Notice and the Summary Notice (the

17   “Notices”), as well as the Notice Program proposed by IPP Counsel, “meet the requirements of Rule

18   23 and due process, and are the best notice practicable under the circumstances and shall constitute

19   due and sufficient notice to all persons entitled thereto.” Preliminary Approval Order, ¶ 13.

20          The Court-appointed Settlement Administrator, The Notice Company (id. ¶ 11), implemented

21   the Notice Plan in accordance with the Preliminary Approval Order. Fisher Decl. ¶ 4. Pursuant to that

22   Order, ¶¶ 12-13, indirect purchasers of CRTs were notified of the Settlement through a carefully

23   designed combination of (1) a case-specific website, www.CRTClaims.com, which has received more

24   than 1,228,574 unique visitors since notice was published on February 8, 2023, (2) extensive

25   publication notice in print and online, including various popular social media websites and

26   eMagazines, (3) digital banner ads resulting in more than 471,570,000 impressions, (4) an earned

27   media plan, (5) press releases in English and Spanish carried by 457 domestic and foreign websites

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                                                     6
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1    with a total potential audience of 203,600,000, (6) television ads on various popular cable TV

2    networks, (7) direct mail notice to 22,243 individual and corporate addresses, including Prior

3    Claimants, and including many of the largest institutional end-users of CRTs, many of whom are

4    represented by counsel who also received direct notice of the Proposed Settlement via ECF, (8) direct

5    email notice to almost thirteen million email addresses, including Prior Claimants, and (9) a case-

6    specific toll-free number. Id. ¶¶ 4-24. The notice reached at least 87% of adults aged 35+ who owned

7    TVs or computers during the relevant period with an estimated frequency of 3.02 times. Id. ¶¶ 4, 37.

8    This reach and frequency for the notice is well within the acceptable range.

9            Moreover, the reach and frequency of the notice to Class Members was effectively greater

10   since the calculated numbers ignore so-called “organic” notices that cannot be directly traced to a paid

11   activity. For example, a search result showing the CRT Settlement Website as a paid advertisement

12   would be included in the calculated reach; but a search result showing the CRT Settlement Website as

13   an unpaid search result is not included. Both results effectively reach the viewer, but only the paid

14   search result is counted. Likewise, none of the direct notices by mail or email are included in the reach

15   and frequency numbers because they only measure paid media-outreach programs. Fisher Decl. ¶ 37.

16           The Notices also advised Class Members that IPPs intended to apply for attorneys’ fees in the

17   amount of one-third of the Settlement Fund ($11,000,000), notice costs, litigation expenses, and

18   $2,000 incentive awards for the each of the Class Representatives. Id., Ex. D (Detailed Notice) at 10-

19   11; Alioto Decl. ¶ 2. The Notices further advised how to access the fee petition. Id. IPPs posted the

20   fee petition (ECF No. 6177) to the settlement website, www.CRTclaims.com, on March 10, 2023—

21   the same day it was filed, and 35 days before the deadline to object. Id. ¶ 3; Fisher Decl. ¶ 7. To date,

22   no Class Member has objected to IPP Counsel’s attorney fee request, the reimbursement of $13,122.10

23   in expenses, or the $2,000 incentive awards for each Class Representative. Alioto Decl. ¶ 4.

24           The Notice Program comports with due process and was the best notice practicable under the

25   circumstances. Fisher Decl. ¶¶ 35-37.

26   //

27   //

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                                                       7
          INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1           D.      The Court Should Finally Certify The Settlement Class

2           In its Preliminary Approval Order, the Court analyzed the requirements for class certification

3    of a Settlement Class under Fed. R. Civ. P. 23(a) and (b) and found that “it is likely to be able to certify

4    the Settlement Class.” Preliminary Approval Order, ¶¶ 2-9. The grounds for certification articulated

5    in the Preliminary Approval Order are unchanged, and final certification is warranted. In 2020, the

6    Court finally approved a similarly defined Settlement Class for IPPs’ Prior Settlements (ECF No.

7    5786), and in 2013, certified 22 state classes which are defined similarly to the Settlement Class

8    proposed here. See In re Cathode Ray Tube (CRT) Antitrust Litig., No. 07-cv-5944-JST, 2013 WL

9    5391159 (N.D. Cal. Sept. 24, 2013).

10          The Court may certify a settlement class where plaintiffs demonstrate that the proposed class

11   and proposed class representatives meet the four prerequisites listed in Fed. R. Civ. P. 23(a)—

12   numerosity, commonality, typicality, and adequacy of representation—and one of the three

13   requirements of Rule 23(b). Hanlon, 150 F.3d at 1019. Class certification under Rule 23(b)(3) requires

14   a showing that “questions of law and fact common to the members of the class predominate over any

15   questions affecting only individual members, and that a class action is superior to other available

16   methods for the fair and efficient adjudication of the controversy.” Fed. R. Civ. P. 23(b)(3). In

17   certifying a settlement class, the Court is not required to determine whether the action, if tried, would

18   present intractable management problems, “for the proposal is that there be no trial.” Amchem Prods.

19   v. Windsor, 521 U.S. 591, 620 (1997). See also In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d at

20   556 (instructing that “[t]he criteria for class certification are applied differently in litigation and

21   settlement classes.”).

22                  1.        The Settlement Class Satisfies The Requirements Of Rule 23(a)

23          The requirements of Fed. R. Civ. P. 23(a), which this Court extensively examined at
24   preliminary approval, are satisfied here. 6 First, it is undisputed that the members of the Settlement
25

26

27   6
      IPPs’ motion for preliminary approval contains a detailed discussion of the requirements of Rule
     23(a) (ECF No. 6053), which IPPs incorporate herein by reference.
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                                                      8
         INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
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1    Class number in the millions, 7 making joinder impracticable. 8 Second, the claims of the proposed

2    Settlement Class are common, as they “depend upon a common contention . . . of such a nature that it

3    is capable of classwide resolution.” 9 Here, as this Court has found, a central, common, question

4    underlying each of IPPs’ claims in this case is “whether Mitsubishi Electric violated the antitrust

5    and/or various other laws of the [31] states . . . .” 10 Third, the claims of the class representatives are

6    “typical of the claims . . . of the class.” Rule 23(a)(3). The typicality requirement is easily satisfied

7    where, as here, “it is alleged that the defendants engaged in a common [price-fixing] scheme relative

8    to all members of the class.” 11 The Class Representatives have no interests that conflict with the

9    Settlement Class and have a common interest in obtaining compensation for a shared injury. 12

10             Finally, the Named Plaintiffs have fairly and adequately represented the Settlement Class and

11   should be confirmed as Settlement Class Representatives. Fed. R. Civ. P. 23(a)(4). A representative

12   plaintiff is an adequate representative of the class if he or she: (1) does not have interests antagonistic

13   to or in conflict with the interests of the class; and (2) is represented by qualified counsel who will

14   vigorously prosecute the class’s interests. 13 Here, the interests of Named Plaintiffs and Class Members

15   are aligned because (a) they all claim similar injury in the form of higher CRT Product prices due to

16

17
     7
       See ECF No. 5695 at 8 (adopting prior findings that “millions of people in the United States
18
     purchased CRT products during the class period.”).
19   8
      See Bellinghausen v. Tractor Supply Co., 303 F.R.D. 611, 616 (N.D. Cal. 2014) (where “general
     knowledge and common sense” indicate a large class, “numerosity is satisfied.”).
20
     9
         Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011); Fed. R. Civ. P. 23(a)(2).
21   10
        ECF No. 6104 ¶ 5; see also ECF No. 4351 at 18 (“there are undeniably questions of law and fact
22   common to the Class, including whether the Defendants engaged in a price-fixing conspiracy that
     injured Plaintiffs when they paid more for CRT Products than they would have absent the alleged
23   price-fixing conspiracy.”); ECF No. 5695 at 8 (same).
     11
24     In re Cathode Ray Tube Antitrust Litig., 308 F.R.D. 606, 613 (N.D. Cal. 2015) (quoting In re Catfish
     Antitrust Litig., 826 F. Supp. 1019, 1035 (N.D. Miss. 1993))
25   12
        See ECF No. 5695 at 9-10 (granting preliminary approval of Prior Settlements and adopting prior
26   finding that “the claims of the representative parties are typical of the claims of the class . . . because
     they all indirectly purchased CRT products at supra-competitive levels as a result of the alleged
27   price-fixing conspiracy during the relevant time period.”).
     13
28        Hanlon, 150 F.3d at 1020; Ellis v. Costco Wholesale Corp., 657 F.3d 970, 985 (9th Cir. 2011).
                                                       9
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1    the alleged conspiracy, and (b) they each seek the same relief as the class members in their state under

2    their respective state statutes. By proving their own claims, representative Plaintiffs would necessarily

3    prove the claims of their fellow Class Members. The Named Plaintiffs understand the allegations in

4    this Action and have reviewed pleadings, responded to discovery, and produced the documents

5    requested. The majority of them have been actively involved in the Action for more than fifteen

6    years, 14 and have previously been found to be adequate representatives of their respective state

7    classes. 15 The thirteen new Class Representatives have likewise been found to be adequate

8    representatives. ECF No. 6104, ¶ 7. Nothing has changed in the interim to alter these findings.

9            In sum, the Settlement Class satisfies the requirements of Rule 23(a).

10                  2.      The Settlement Class Satisfies The Requirements Of Rule 23(b)(3)

11           “Under Rule 23(b)(3), a plaintiff must demonstrate the superiority of maintaining a class action

12   and show ‘that the questions of law or fact common to class members predominate over any questions

13   affecting only individual members.’” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 596 (9th Cir.

14   2012) (quoting Fed. R. Civ. P. 23(b)(3)). “[T]he focus of the predominance inquiry” is whether “a

15   proposed class is ‘sufficiently cohesive to warrant adjudication by representation.’” Amgen Inc. v.

16   Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013) (quoting Amchem Prods. v. Windsor, 521

17   U.S. 591, 623 (1997)). “But the rule ‘does not require a plaintiff seeking class certification to prove

18   that each element of their claim is susceptible to classwide proof,’ so long as one or more common

19   questions predominate.” Castillo v. Bank of Am., NA, 980 F.3d 723, 730 (9th Cir. 2020) (citing Amgen

20   Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013)). As this Court previously noted, “in

21   price-fixing cases, such as this, ‘courts repeatedly have held that the existence of the conspiracy is the

22   predominant issue and warrants certification even when significant individual issues are present.’”

23

24
     14
       ECF No. 6053-1, ¶¶ 57-59 (Alioto Declaration ISO Preliminary Approval, describing how 21 of
25   the 34 class representatives have been involved in this MDL since inception and were appointed as
26   representatives of the litigated class and settlement class for the Prior Settlements).
     15
       See In re CRT, 2013 WL 5391159, at *3 (concluding that the named plaintiffs were adequate class
27   representatives); ECF No. 5695 at 10-11 (Preliminary Approval Order for Prior Settlements finding
     named plaintiffs are adequate class representatives); ECF No. 6104, ¶ 7 (same).
28
                                                       10
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1    ECF No. 5695 at 8 (quoting Thomas & Thomas Rodmakers, Inc. v. Newport Adhesives & Composites,

2    Inc., 209 F.R.D. 159, 167 (C.D. Cal. 2002)); see also Amchem Prods., 521 U.S. at 625 (predominance

3    under Rule 23(b)(3) is “readily met” in antitrust cases).

4            Resolution of IPPs’ claims here depends principally on whether Defendants participated in a

5    price-fixing conspiracy that increased the price of CRT Products. This Court has already found that

6    the predominance requirement of Fed. R. Civ. P. 23(b)(3) was met for an almost identical class during

7    the litigation, 16 an almost identical Settlement Class in connection with the Prior Settlements (ECF

8    No. 5695 at 8), and in its Order preliminarily approving this Proposed Settlement. ECF No. 6104 ¶ 8.

9            In addition, resolution of IPPs’ claims through a class action is unquestionably superior.

10   Litigating every Class Member’s claims separately would waste judicial and party resources, given

11   that the vast majority of evidence would be identical. 17 Further, individual Class Members would lack

12   incentive to bring their own cases given that their alleged damages are small relative to the enormous

13   costs necessary to litigation complex antitrust cases. Thus, the requirements of Rule 23(b)(3) are also

14   satisfied here.

15                     3.   The Court Should Appoint Trump, Alioto, Trump & Prescott, LLP As
                            Settlement Class Counsel For Final Approval
16
             Fed. R. Civ. P. 23(g) separately requires this Court to appoint class counsel to represent the
17
     Settlement Class. Considering IPP Lead Counsel’s work in this action, its expertise and experience
18
     in handling this Action for the past fifteen years, and the resources it has committed to representing
19
     the class, it should be appointed as class counsel for the proposed Settlement Class under Rule
20
     23(g)(3) and confirmed under Rule 23(g)(1), as this Court already ordered. 18
21

22
     16
23     See In re CRT, 2013 WL 5391159, at *6 (finding common questions predominated and certifying
     twenty-two statewide classes of indirect purchasers of CRTs).
24   17
       See In re Cathode Ray Tube Antitrust Litig., No. 07-cv-5944-JST, 2013 WL 5429718, at *23 (N.D.
25   Cal. June 20, 2013).
     18
       See ECF No. 6104, ¶ 9 (finding that Mario N. Alioto and Trump, Alioto, Trump & Prescott, LLP
26
     have protected and will continue to fairly and adequately protect the interests of the Settlement
27   Class.”); In re Cathode Ray Tube Antitrust Litig., No. 07-cv-5944-JST, 2016 WL 3648478, at *5 (N.D.
     Cal. July 7, 2016) (“the entire record of the litigation viewed fairly demonstrates that Class Counsel
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                                                       11
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1           E.      The Court Should Grant Final Approval Of The Proposed Settlement

2           Under Rule 23(e)(2), the Court “may approve [a class action settlement] only after a hearing

3    and only on finding that it is fair, reasonable, and adequate after considering whether:

4                   (A) The class representatives and class counsel have adequately represented the class;

5                   (B) The proposal was negotiated at arm’s length;

6                   (C) The relief provided for the class is adequate, taking into account:

7                          i.   The costs, risks, and delay of trial and appeal;

8                         ii.   The effectiveness of any proposed method of distributing relief to the class,

9                               including the method of processing class member claims;

10                       iii.   The terms of any proposed award of attorneys’ fees, including timing of

11                              payment; and

12                       iv.    Any agreement required to be identified under Rule 23(e)(3); and

13                  (D) The proposal treats class members equitably relative to each other.

14   Fed. R. Civ. P. 23(e)(2). In granting preliminary approval of the Settlement, this Court concluded that

15   these Rule 23(e)(2) factors had been satisfied, and that it would likely be able to approve the

16   Settlement. ECF No. 6104 ¶ 1. No contrary evidence has emerged.

17          As demonstrated below, all the Rule 23(e)(2) factors favor final approval of the Settlement,

18   which also satisfies the Northern District of California’s guidelines. Thus, the Court should approve

19   the Settlement as fair, reasonable, and adequate.

20                  1.      The Class Has Been Adequately Represented

21          Rule 23(e)(2)(A), in conjunction with subsection (B), requires the court to “identify matters
22   that might be described as ‘procedural’ concerns, looking to the conduct of the litigation and of the
23   negotiations leading up to the proposed settlement.” Fed. R. Civ. P. 23(e)(2) Advisory Comm. Notes,
24   Paragraphs (A) and (B) (2018). As an “example, the nature and amount of discovery in this or other
25

26
     managed this case diligently and efficiently for the benefit of the class[,]” and “Class Counsel was
27   superb at coordinating the class effort.”); ECF No. 5695 at 10 (“IPP Lead Counsel has “invested
     considerable time in this case and ha[s] substantial experience with class action litigation.”).
28
                                                     12
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1    cases, or the actual outcomes of other cases, may indicate whether counsel negotiating on behalf of

2    the class had an adequate information base.” Id.

3              Here, as detailed in the preliminary approval motion (ECF No. 6053) and fee motion (ECF No.

4    6177), the class representatives and counsel have vigorously represented the interests of class members

5    for more than fifteen years, including full case development for trial. See Alioto Fee Decl. ¶¶ 4-49. 19

6    Thus, IPPs negotiated the Settlement with detailed knowledge of the factual and legal issues

7    underlying the parties’ claims and defenses, and their strengths and weaknesses. Id. ¶¶ 35-41.

8              In its July 2020 Final Approval Order (affirmed on appeal), this Court reaffirmed its findings

9    that: (1) “IPPs and Class Counsel have vigorously prosecuted this action . . . through extensive

10   discovery[,] including the “review of millions of documents and the taking of hundreds of depositions,

11   all conducted over eight-plus years”; and (2) IPP Lead Counsel has ‘invested considerable time in this

12   case and has substantial experience with class action litigation.” ECF No. 5786 at 17. The Court

13   concluded, therefore, that “counsel ‘possessed sufficient information to make an informed decision

14   about settlement.’” Id. (quoting Hefler v. Wells Fargo & Co., No. 16-cv-05479-JST, 2018 WL

15   6619983, at *6 (N.D. Cal. Dec. 18, 2018)). These findings apply with equal force to the Settlement

16   with Mitsubishi Electric. Thus, the Court should affirm its finding in its Preliminary Approval Order

17   that “[t]he class representatives and counsel have vigorously represented the interests of the Settlement

18   Class.” ECF No. 6104 ¶ 1(a).

19                    2.      The Proposed Settlement Is The Product Of Arm’s Length Negotiations

20             Fed. R. Civ. P. 23(e)(2)(B) instructs courts to consider whether “the proposal was negotiated

21   at arm’s length.” A class action settlement is entitled to an initial presumption of fairness where it is

22   the result of arm’s-length negotiations among experienced counsel. See, e.g., Viceral v. Mistras Grp.,

23   Inc., No. 15-cv-02198-EMC, 2016 WL 5907869, at *8 (N.D. Cal. Oct. 11, 2016). Further, “the

24   involvement of a neutral or court-affiliated mediator or facilitator in those negotiations may bear on

25   whether they were conducted in a manner that would protect and further the class interests.” Fed. R.

26

27
     19
          See also ECF No. 4071-1 (Alioto Decl. in support of September 23, 2015 attorney fee motion).
28
                                                       13
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1    Civ. P. 23(e)(2) Advisory Comm. Notes, Paragraph (B) (2018).

2           The Settlement with Mitsubishi Electric was reached after months of hard-fought and highly

3    adversarial negotiations, including multiple telephone conferences, an in-person meeting attended by

4    counsel for all parties and representatives of Mitsubishi Electric from the United States and Japan, and

5    an in-person mediation before Judge Corley. A settlement in principle was reached during that

6    mediation and indeed, was the result of the mediator’s proposal. Alioto Fee Decl. ¶ 21. Thus, the

7    settlement was not the product of collusion. See Final Approval Order (ECF No. 5786) at 18

8    (mediation sessions supervised by a former judge are an indication of arm’s length negotiations).

9           Courts should also consider the “treatment of any award of attorney’s fees, with respect to both

10   the manner of negotiating the fee award and its terms.” R. 23(e). Advisory Comm. Notes, Para. (B)

11   (2018). While the Settlement provides that Mitsubishi Electric will not object to attorneys’ fees of up

12   to one-third of the Settlement Fund, there is no agreement on the amount of attorneys’ fees Class

13   Counsel will receive. ECF No. 6053-1, Ex. A, ¶ 34. As in the Prior Settlements, any award of

14   attorneys’ fees remains within the discretion of the Court and will be awarded from the common fund.

15   See ECF No. 5786 at 19 (“Although the agreements contain a “clear sailing” provision, the Court finds

16   no cause for concern because Class Counsel’s fee will be awarded from the same common fund as the

17   recovery to the class.”) (citing Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 961 n.5 (9th Cir. 2009)).

18          Based on the foregoing, this Court concluded that “[t]he Settlement Agreement was negotiated

19   by arm’s-length, informed, and non-collusive negotiations between counsel for IPPs and Mitsubishi

20   Electric under the supervision of a Magistrate Judge.” ECF No. 6104 ¶ 1(b). No class member has

21   objected to this conclusion and no contrary evidence has emerged.

22                  3.      The Proposed Settlement Provides Substantial Relief For The Class

23          Rule 23(e)(2)(C) instructs courts to consider whether “the relief provided for the class is
24   adequate” considering (i) the costs, risks, and delay of trial and appeal; (ii) the proposed distribution
25   plan; (iii) the terms of any proposed award of attorneys’ fees; and (iv) any agreement required to be
26   identified under Rule 23(e)(3). As this Court has already concluded, the Proposed Settlement is fair
27   when evaluated against these standards. ECF No. 6104 ¶ 1(c).
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1                           a.      The Costs, Risks, And Delay Of Trial And Appeal Were
                                    Significant
2
             The first factor—“the costs, risks, and delay of trial and appeal” (Rule 23(e)(2)(C)(i))—is
3
     analogous to the Ninth Circuit’s traditional consideration of the risk, expense, complexity, and likely
4
     duration of further litigation, while also examining the strength of plaintiffs’ case, the risk of
5
     maintaining class action status throughout the trial, and the amount offered in settlement. See In re
6
     Online DVD-Rental, 779 F.3d at 944 (listing factors).
7
             First, as explained in detail at preliminary approval and in IPPs’ fee motion, the $33 million
8
     settlement amount is 5.6% of the total $580,750,000 Settlement Fund, which is more than Mitsubishi
9
     Electric’s market share (less than 5%) and is consistent with the previously-approved IPP settlements
10
     with other similarly situated Japanese defendants. Alioto Fee Decl. ¶ 41. Second, based on the damage
11
     study by IPPs’ expert, Dr. Netz, 20 the damages attributable to Mitsubishi Electric would be
12
     approximately $168 million (5.6% of $3.36 billion). 21 Thus, the $33 million settlement is
13
     approximately 19.6% of the damages attributable to Mitsubishi Electric. Id. ¶¶ 38-40. Such a result
14
     represents a reasonable compromise of the parties’ positions and is well within the range of possible
15
     final approval. See In re CRT, 2016 WL 3648478, at *6-7 (finding that 20% of single damages was
16
     “without question a good recovery and firmly in line with the recovery in other cases”). Likewise,
17
     when combined with the Prior Settlement amounts, the total recovery to date is $580,750,000, which
18
     is almost 20% of the $3.36 billion in single damages. When compared to other indirect purchaser cases
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     20
        IPPs’ expert, Dr. Netz, estimated single damages to members of the 22 state classes to be $2.78
24   billion. Id. ¶ 36. After adjusting this estimate to account for the nine additional states included in the
     Proposed Settlement Class, the single damages to class members in the 30 states and the District of
25   Columbia would be $3.36 billion. Id. ¶ 37.
     21
26     Mitsubishi Electric would have strongly contested IPPs’ damages claims. The other Defendants’
     experts opined that indirect purchasers suffered little or no damages as a result of the alleged CRT
27   conspiracy. One defense expert estimated the total class damages to be approximately $61 million.
     Other defense experts maintained that the total class damages were zero. See Alioto Fee Decl. ¶ 39.
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1    (some of which never make it past class certification 22), this is an excellent result. 23

2             Third, the risks to IPPs at trial and on appeal would have been significant and support the

3    reasonableness of the Settlement. For example, IPPs faced a substantial risk that the jury would find

4    Mitsubishi Electric did not participate in the alleged conspiracy. Among other things, Mitsubishi

5    Electric would have argued at trial that it did not attend a single “glass meeting”; that it ceased

6    manufacture of CPTs in 1998 and CDTs in 2004; that most of its CDTs used a different technology

7    and were marketed to different customers than those of the other alleged conspirators; and that because

8    its market share was very small—substantially less than 5%— it was therefore always a minor player

9    in the market, with little or no incentive to join the conspiracy. The Court’s ruling precluding Samsung

10   SDI’s litigation statements against Mitsubishi Electric would also have made IPPs’ case more difficult

11   to prove. ECF No. 4982. Alioto Fee Decl. ¶ 45.

12            Mitsubishi Electric would also likely have asserted that even if it had participated in the

13   conspiracy, it withdrew when it stopped manufacturing CRTs in 2004, 24 and that the majority of IPPs’

14   damages are barred by the Foreign Trade Antitrust Improvements Act, 6 U.S.C. § 15 (“FTAIA”). 25 It

15   would also have contested IPPs’ evidence of antitrust standing, and pass-through of the overcharge to

16

17
     22
18      See, e.g., In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420 YGR, 2017 WL 1391491, at
     *1 (N.D. Cal. Apr. 12, 2017) (denying class certification to indirect purchasers of lithium ion batteries
19   in part because they were unable to prove impact (i.e., pass-through of the overcharge) on a class-wide
     basis); In re Flash Memory Antitrust Litig., No. C 07-0086 SBA, 2010 WL 2332081, at *19 (N.D. Cal.
20   June 9, 2010) (same); In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 507 (N.D.
     Cal. 2008) (same).
21
     23
        See In re Lithium Ion Batteries Antitrust Litig., No. 4:13-md-02420-YGR (MDL), 2019 U.S. Dist.
22   LEXIS 139327, at *53 (N.D. Cal. Aug. 16, 2019) (finding indirect purchaser settlements amounting
     to 11.7 percent of single damages were an “excellent result” for the class).
23
     24
          See ECF No. 4786 (granting Philips’ summary judgment motion on withdrawal grounds).
24   25
        The other Defendants moved for summary judgment on IPPs’ claims on FTAIA grounds. See ECF
25   Nos. 3006 and 3008. Even though the Court denied these motions in the DAP case, the FTAIA would
     still have been an issue at trial and is frequently an issue on appeal. See, e.g., Lotes Co. v. Hon Hai
26   Precision Indus. Co., 753 F.3d 395, 412-13 (2d Cir. 2014); Animal Sci. Prods. v. China Minmetals
     Corp., 654 F.3d 462 (3d Cir. 2011); Minn-Chem, Inc. v. Agrium Inc., 683 F.3d 845 (7th Cir. 2012);
27   Motorola Mobility L.L.C. v. AU Optronics Corp., 775 F.3d 816 (7th Cir. 2014); and U.S. v. Hsiung,
     778 F.3d 738 (9th Cir. 2015).
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1    indirect purchasers. 26 Moreover, IPPs could prevail on liability and still obtain no net recovery given

2    the large settlement offset ($547,750,000) that would be applied as a result of the other

3    settlements. 27 And, any jury award would also have to withstand appellate review. While IPPs remain

4    confident in the strength of the evidence supporting their claims, a successful jury verdict remained a

5    risky proposition. See In re NASDAQ Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 475-76 (S.D.N.Y.

6    1998) (“[T]he history of antitrust litigation is replete with cases in which antitrust plaintiffs succeeded

7    at trial on liability, but recovered no damages, or only negligible damages, at trial, or on appeal.”).

8            Finally, even if IPPs were to win at every subsequent stage, continued litigation would delay

9    recovery for years, in a case where the damage period already extends back twenty-five years.

10   Settlement eliminates the risk of litigation, providing substantial and certain relief to the Settlement

11   Class now. AT&T Mobility Wireless Data Servs. Sales Litig., 270 F.R.D. 330, 347 (N.D. Ill. 2010)

12   (“[A] future victory is not as valuable as a present victory”). In sum, the all-cash recovery of

13   $33,000,000 is a substantial result that avoids the meaningful risks IPPs faced at trial and on appeal.

14                          b.      The Plan Of Distribution Is Fair, Adequate And Reasonable

15           Rule 23(e)(2)(C) also instructs courts to take into account the “effectiveness of any proposed
16   method of distributing relief to the class, including the method of processing class-member claims.”
17   “Approval of a plan of allocation of settlement proceeds in a class action . . . is governed by the same
18   standards of review applicable to approval of the settlement as a whole: the plan must be fair,
19   reasonable and adequate.” Hefler v. Wells Fargo & Co., No. 16-cv-05479-JST, 2018 WL 4207245, at
20   *12 (N.D. Cal. Sept. 4, 2018) (citation omitted)); see also In re CRT, 2016 WL 3648478, at *11. A
21

22
     26
23     See, e.g., ECF Nos. 2012, 3050, 3585 & 3585 (motions relating to these issues filed by the other
     Defendants).
24   27
       Alioto Fee Decl. ¶ 46. In LCD, for example, the jury awarded the direct purchaser class plaintiffs
25   $87 million in damages against Toshiba, but they recovered nothing because the award was offset by
     their $443 million obtained in settlements. Likewise, Best Buy recovered nothing at trial against
26   Toshiba and Hannstar. The jury found that Toshiba did not participate in the conspiracy and awarded
     only $7.5 million against Hannstar. Once Best Buy’s settlements with the other defendants in LCD
27   had been offset, Hannstar owed nothing to Best Buy. Likewise here, if IPPs had gone to trial against
     Mitsubishi Electric, there would have been an offset of $547,750,000. Id. ¶ 47.
28
                                                       17
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1    plan of distribution that compensates class members based on the type and extent of their injuries is

2    generally considered reasonable. See id.

3              IPPs will use the same weighted pro rata distribution for the Settlement that the Court approved

4    for the Prior Settlements, 28 and which the Court has preliminarily approved for this Settlement. ECF

5    No. 6104 ¶ 1(c). The Detailed Notice provided a detailed description of the Plan of Distribution,

6    including how each claimant’s pro rata share of the net settlement fund would be calculated, the

7    proposed $10 minimum payment, instructions for how to file a claim, and a link to the Court-approved

8    online Claim Form. Alioto Decl. ¶ 5; Fisher Decl., Exs. D & E (Detailed Notice). Millions of potential

9    claimants received direct notice of the Plan of Distribution, including many large corporations which

10   are represented by counsel. Id. ¶¶ 16-20. To date, no objection to the proposed Plan of Distribution

11   has been received (Alioto Decl. ¶ 5), and nothing has changed since the Court’s previous conclusions.

12   Thus, the Court should finally approve the Plan of Distribution.

13                            c.      IPP Counsel’s Unopposed Attorneys’ Fee Request Is Reasonable

14             A third factor to be considered under Rule 23(e)(2)(C) is “the terms of any proposed award of
15   attorney’s fees, including timing of payment.” Fed. R. Civ. P. 23(e)(2)(C)(iii).
16             At preliminary approval, IPPs informed the Court that they intended to request an attorney fee
17   award of $11,000,000, which together with the IPP Counsel’s first fee award, would equate to 24.2%
18   of the total settlement fund, or one-third of the Mitsubishi Electric Settlement Fund. See ECF No. 6053
19   at 21. The Court concluded that “the reasonableness of the anticipated request for an award of
20   attorneys’ fees and reimbursement of litigation expenses,” supported the finding that the relief
21   provided for the Settlement Class is adequate. ECF No. 6104 ¶ 1(c).
22             Since then, IPPs have filed their motion for attorneys’ fees requesting an award of $11,000,000,
23   or 24.2% of the total settlement fund. See generally ECF No. 6177. Pursuant to the Preliminary
24   Approval Order, ECF No. 6104 ¶ 22, IPPs filed their motion with the Court on March 10, 2023 (ECF
25   No. 6177) and posted it to the website, www.CRTclaims.com, thirty-five (35) days before the deadline
26

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     28
          ECF No. 5786 at 20 (adopting reasoning from original order approving the Prior Settlements).
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                                                       18
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1    for objections to give Class Members an opportunity to review the attorney fee motion and either

2    support or file objections to it. Alioto Decl. ¶ 3. The motion is noticed for June 1, 2023, the same date

3    as the final approval hearing. 29 To date, despite the comprehensive notice program—including direct

4    mail, email and ECF notice to Prior Claimants, many of which are sophisticated corporate claimants

5    represented by counsel—no one has objected to IPPs’ fee motion, the request for reimbursement of

6    litigation expenses, or the requested incentive awards for the Class Representatives. Alioto Decl. ¶ 4.

7              As demonstrated in IPPs’ fee motion, the requested fee award is reasonable under the

8    circumstances of this case. Together with the $129,606,250 in attorneys’ fees already awarded to IPP

9    Counsel, IPPs’ proposed $11,000,000 fee award would result in a total fee of $140,606,250, which

10   constitutes 24.2% of the $580,750,000 total settlement fund, and an overall multiplier of 1.735. As

11   this Court has noted, the Ninth Circuit has set the “benchmark for an attorneys’ fee award in a

12   successful class action [at] twenty-five percent of the entire common fund.” 30 The Court also found

13   that a multiplier of 1.6 is “well within the range of acceptable multipliers.” Id. at 24. Thus, IPPs’

14   requested fee would still be below the Ninth Circuit’s 25% benchmark and would only increase the

15   already-approved multiplier by a small amount to 1.735—still well within the range of acceptable

16   multipliers. See, e.g., In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d at 572 (affirming “modest”

17   multipliers of 1.22 and 1.5521 and citing cases affirming multipliers up to 3.65). A lodestar cross-

18   check also confirms the reasonableness of the requested fee award. See ECF No. 6177 at 28-32.

19             In the Preliminary Approval Order, the Court stated that it “will typically withhold between

20   10% and 25% of the attorney’s fees granted at final approval until after the post-distribution

21   accounting has been filed. The final approval motion should specify what percentage class counsel

22   believes it is appropriate to withhold and why.” ECF No. 6104 ¶ 27. This language is echoed by the

23   Court’s Standing Order. 31

24
     29
25      See Procedural Guidance, Final Approval (2) (“Regardless of when they are filed, requests for
     attorneys’ fees must be noticed for the same date as the final approval hearing.”).
26   30
       ECF No. 5786 at 22-23 (quoting Williams v. MGM-Pathe Commc’ns Co., 129 F.3d 1026, 1027 (9th
27   Cir. 1997)).
     31
28        Standing Order for All Civil Cases Before District Judge Jon S. Tigar (uscourts.gov).
                                                       19
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1            The Advisory Committee’s Notes to Rule 23 provide that in some cases deferral of “some

2    portion” of an attorney fee award “may be appropriate” where the relief to the class is composed of

3    “future payments” and “may not result in significant actual payments to class members.” 32 These

4    concerns are not present here. This Settlement does not involve coupons or vouchers, and it is not a

5    “claims made” settlement, wherein the settling defendant only pays the claims that are made. In such

6    cases, it makes sense to defer the award of attorneys’ fees until after the claims process so that the

7    court knows the value of the settlement. Here, the value of the Settlement is known—it is an all-cash

8    settlement for $33 million, which was paid into escrow by Mitsubishi Electric in 2017 and has been

9    earning interest for the benefit of the Settlement Class since then. In addition, most of the claimants

10   are already known because Prior Claimants’ valid claims were automatically submitted against this

11   Settlement. 33 Thus, their claims have already been vetted and approved by the Claims Administrator.

12           Moreover, these Prior Claimants have recently cashed their checks from the Prior Settlements

13   so there is little concern that they will not cash their checks for this Settlement. To date, claimants in

14   the Prior Settlements have cashed $402,666,291.52 of the $410,503,806.60 net settlement fund

15   available for distribution, with 21,114 checks remaining uncashed. 34 Because the residual is less than

16   $12 million, it will be distributed to Late Claimants whose claims in the Prior Settlements were

17

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20   32
        See Fed. R. Civ. P. 23(h), Advisory Committee’s Notes to 2003 Amendment (“In many instances,
21   the court may need to proceed with care in assessing the value conferred on class members. Settlement
     regimes that provide for future payments, for example, may not result in significant actual payments
22   to class members. In this connection, the court may need to scrutinize the manner and operation of any
     applicable claims procedure. In some cases, it may be appropriate to defer some portion of the fee
23   award until actual payouts to class members are known. Settlements involving nonmonetary
24   provisions for class members also deserve careful scrutiny to ensure that these provisions have actual
     value to the class. On occasion the court’s Rule 23(e) review will provide a solid basis for this sort of
25   evaluation, but in any event it is also important to assessing the fee award for the class.”).
     33
26     Only valid claims by end user claimants were submitted in this Settlement; reseller claims were
     excluded because resellers are not included in the Settlement Class. Fisher Decl. ¶ 28.
27   34
       Fisher Decl. ¶ 30. A $10 million reserve fund was withheld from high-value claims, with remaining
     amounts to be distributed at the conclusion of the administration process. ECF No. 6040 ¶ 14.
28
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1    discounted by 50%. 35 Accordingly, this is not a case where the Court need be concerned that anything

2    other than a de minimis portion of the net settlement fund will remain unclaimed. Alioto Decl. ¶ 6.

3            Deferral of a portion of the attorneys’ fees could also be appropriate if there is a concern that,

4    once paid, class counsel may no longer be incentivized to serve the class through final distribution.

5    Here again, there is no basis for concern. IPP Counsel are well-funded, experienced class action

6    litigators who are continuing to prosecute this case against the Irico Defendants. In this case and others,

7    they have served the Class’s interests through final distribution with no need for deferral of fees.

8    Indeed, IPP Counsel filed the motion to distribute the net settlement fund for the Prior Settlements to

9    claimants within ten days of the United States Supreme Court’s denial of certiorari and the Prior

10   Settlements becoming final. 36 The same will be true here – IPP Counsel will devote whatever time is

11   necessary to ensure the distribution is completed accurately and in a timely fashion. Alioto Decl. ¶ 7.

12           However, the post-distribution accounting is dependent upon the completion of the claims

13   processing, which is largely beyond the control of IPP Counsel. Claims processing is handled

14   primarily by the Claims Administrator. It is not uncommon for issues to arise between the Claims

15   Administrator and claimants that delay the completion of claims processing. Oftentimes, large

16   claimants and large groups of claimants are represented by claims aggregators and counsel. That is the

17   case here. It is also not uncommon for such claimants to litigate (and appeal) claims determinations,

18   further delaying completion of the claims process. For example, in this Action, claims aggregators

19   objected to the treatment of late claims in the Prior Settlements necessitating mediations before Special

20   Master Walker and Judge Corley. ECF Nos. 5296 & 5715. As to matters within their control, IPP

21   Counsel have every incentive to complete the claims process as soon as possible since counsel will

22   continue to incur fees and expenses in claims processing, which usually go uncompensated. Alioto

23   Decl. ¶ 8.

24

25
     35
26     ECF No. 6040 ¶ 8. Late Claimants’ claims were automatically submitted in the Settlement and are
     therefore timely and will be paid in full.
27   36
       Compare ECF No. 6023 with ECF No. 6025 (IPPs’ Motion for Order Appointing Fund
     Administrator and Authorizing Distribution of Settlement Funds).
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                                                       21
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1              The case could be made—based on the foregoing, IPP Counsel’s performance, and the results

2    achieved to date—that the Court should not withhold a portion of the attorney fee award. If, however,

3    the Court is inclined to do so, IPP Counsel believes that the withholding should be no more than 5%.

4                             d.     Other Related Agreements

5              Pursuant to Fed. R. Civ. P. 23(e)(2)(C)(iv), IPPs disclosed in the motion for preliminary
6    approval 37 agreements whereby certain objectors voluntarily dismissed their appeals of the original
7    settlements in March and April 2018 in exchange for monetary consideration to be paid by IPP Counsel
8    from their attorney fee award. These agreements also provided that the objectors would not object to
9    this Settlement.38 No payment is due to the objectors until all fee proceedings relating to the Prior
10   Settlements are final, 39 at which time Lead Counsel will present these agreements to the Court.
11                    4.      The Settlement Treats Class Members Equitably
12             Rule 23(e)(2)(D) requires that the Court consider whether the Settlement “treats class members
13   equitably relative to each other.” Matters of concern for the Court may include “whether the
14   apportionment of relief among class members takes appropriate account of differences among their
15   claims.” Fed. R. Civ. P. 23(e)(2) 2018 Advisory Committee Notes.
16             Here, the Settlement provides for a lump-sum cash payment to the Settlement Class. ECF No.
17   6053-1, Ex A, ¶ 25. The Settlement’s terms do not distinguish between class members in any way and
18   treat all class members equally. All Class Members are entitled to file claims to receive their pro-rata
19   share of the Settlement, and IPPs propose to distribute the settlement funds to Class Members
20   according to the same weighted pro-rata distribution that this Court already examined and approved
21   as fair, adequate, and reasonable in connection with the Prior Settlements. See ECF No. 5786 at 21
22   (quoting In re Omnivision Techs., Inc., No. C-04-2297 SC, 2007 WL 4293467, at *7 (N.D. Cal. Dec.
23   6, 2007)) (“It is reasonable to allocate the settlement funds to class members based on . . . the strength of
24
     37
25        See ECF No. 6053 at 22-23; see also ECF Nos. 5587 at 9; 6001 at 5, n.5.
     38
26      ECF No. 6053-1 (Alioto Decl.) ¶¶ 62-63, Exs. B - E (copies of objector settlement agreements).
     39
        This Court’s Order approving the allocation of the aggregate fee award, ECF No. 6078, has been
27   appealed by settlement objectors Cooper & Kirkham, P.C. and the Law Offices of Francis O.
     Scarpulla. See ECF Nos. 6079, 6080, 6081. Thus, the fee proceedings are not yet final.
28
                                                       22
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1    their claims on the merits.”). In addition, class representatives will be treated no differently than absent

2    class members. While IPPs have sought modest $2,000 incentive award for the Class Representatives,

3    and no one has objected to the proposed awards, any such award will be within the Court’s discretion.

4                     5.     There Are No Objections To The Settlement Or The Attorney Fee Request

5             In ruling on final approval of a class action settlement, the Court should also consider “the
6    reaction of the class members of the proposed settlement.” In re Online DVD-Rental Antitrust Litig.,
7    779 F.3d at 944 (quoting Churchill Vill., L.L.C. v. Gen. Elec., 361 F.3d at 575). Here, as noted, there
8    are no objections to the Settlement or the attorney fee request. The Court should give this factor more
9    weight than usual because large numbers of claimants in this case are represented by claims
10   aggregators, each with their own separate counsel, or are represented directly by their own counsel.
11   These claimants represent approximately 95% of the dollar value of all claims in the Prior Settlements
12   and will likely represent a similar percentage in this Settlement. See Fisher Decl. ¶ 29. These claimants
13   have had extensive contact with IPP Lead Counsel through their counsel, have formally appeared and
14   filed motions and other briefs in the case, 40 and have participated in mediations before the Hon.
15   Vaughn Walker (Ret.) and the Hon. Jacqueline Scott Corley on a wide variety of issues. See ECF Nos.
16   5296 & 5715. Indeed, IPP Lead Counsel provided the settlement papers to counsel for these claimants
17   in advance of the formal notice. In addition, they received direct formal notice via mail and/or email,
18   and their counsel was served with all filings via the Court’s ECF system. Alioto Decl. ¶ 10.
19            Thus, approximately 95% of the total prior claims by value are represented by informed
20   counsel who have no objection to this Settlement or the fee request. This should weigh strongly in
21   favor of final approval of the Settlement and the fee request.
22                    6.     The Settlement Satisfies This District’s Procedural Guidance
23            As noted, this District’s Procedural Guidance provides that “[t]he motion for final approval
24   briefing should include information about the number of undeliverable class notices and claim packets,
25   the number of class members who submitted valid claims, the number of class members who opted
26

27
     40
28        See, e.g., ECF Nos. 5252, 5256, 5269, 5588, 5608, 5609, 5696, 5697, 5698, 5706.
                                                       23
          INDIRECT PURCHASER PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR FINAL APPROVAL OF
                    CLASS ACTION SETTLEMENT WITH MITSUBISHI ELECTRIC CORPORATION
                            Case No. 17-cv-04067-JST; Master File No. 07-cv-05944-JST
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1    out, and the number of class members who objected to or commented on the settlement. In addition,

2    the motion for final approval should respond to any objections.”

3                           a.      The Number Of Undeliverable Class Notices And Claim Packets

4           The Claims Administrator mailed or emailed notice directly to 84,571 Prior Claimants, of
5    which 3,556 bounced or were returned undeliverable. Fisher Decl. ¶¶ 17-18. In addition, 54,098
6    claimants representing 95% of the value of all prior claims were reached indirectly via their third-party
7    representative or legal counsel, none of which were returned. Id. ¶¶ 16 & 18. The Claims Administrator
8    also mailed the notice directly to 1,755 large businesses, academic institutions, and hospitals, of which
9    71 were returned undeliverable. Id. ¶ 19. Direct email notice was sent to a list of approximately 12.9
10   million email addresses for consumers and small businesses with a high interest in computers,
11   consumer electronics, and televisions, resulting in a deliverability rate of 94%. Id. ¶ 20.
12                          b.      The Number Of Valid Claims To Date
13          After reviewing and auditing the claims received in the Prior Settlements, the Settlement
14   Administrator ultimately approved a total of 143,373 valid claims for purchases of 95,277,199 CRT
15   Products, representing 273,146,112 CRT Weighted Units. See ECF No. 6031. All eligible end-user
16   claims (resellers are not included in this Settlement Class) were automatically submitted in this
17   Settlement and the claimants will receive their pro rata share of the Settlement.
18          The deadline to file a claim against the Settlement is June 13, 2023. As of May 3, 2023, the
19   Claims Administrator has received 1,022,192 new claim submissions, of which 135,130 have passed
20   an initial screening for validity. Fisher Decl. ¶ 30. To date, the Claims Administrator has identified
21   9,515 duplicate claims and 640,902 potentially invalid claims, as well as an additional 225,310 claims
22   that warrant further review. Id. & ¶¶ 31-32. After the claims deadline passes and at the conclusion of
23   its claims review, the Settlement Administrator will propose, for the Court’s review and approval,
24   appropriate processes for managing and excluding invalid claim submissions. Fisher Decl. ¶ 33.
25                          c.      The Number Of Opt Outs
26          The Claims Administrator received one opt out request from one individual: Ali Ratzel of
27   Jefferson City, Missouri. Fisher Decl. ¶ 25.
28
                                                     24
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1                            d.     The Number Of Objections Or Comments On The Settlement

2             To date, no objections or comments on the Settlement have been received or filed with the
3    Court. Alioto Decl. ¶ 11; Fisher Decl. ¶ 26.
4    IV.      CONCLUSION
5             IPPs respectfully request that the Court enter an Order: (1) finally approving the Settlement;
6    (2) certifying the Settlement Class; (3) finally approving the Notice Plan as complying with due
7    process and Rule 23, and constituting “the best notice practicable under the circumstances”; (4)
8    appointing Trump, Alioto, Trump & Prescott, LLP as Settlement Class Counsel; and (5) appointing
9    the Named Plaintiffs as Settlement Class Representatives for their respective state classes.
10            IPPs also respectfully request that the Court grant IPPs’ unopposed motion for attorneys’ fees,
11   reimbursement of expenses and incentive awards for the Class Representatives, ECF No. 6177, and
12   award IPP Counsel attorneys’ fees in the amount of $11,000,000 plus interest, $13,122.10 in
13   reimbursement of expenses, and $2,000 to each of the Settlement Class Representatives for their time
14   and effort representing the Class throughout the litigation.
15
     Dated: May 11, 2023                            Respectfully submitted,
16

17                                                   /s/ Mario N. Alioto
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23                                                  Lead Counsel for the Indirect Purchaser Plaintiffs
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